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July 24, 2007

_ Mr. Barry Minkow

Fraud Discovery Institute
9770 Carroll Center Road
San Diego, California 92126

Dear Mr. Minkow:

By way of introduction, my name is Richard Ackerman and I am lead counsel for the
plaintiffs in the Pacific Wealth Management case which is a fraud of approximately 100
million in losses and hundreds of victims. I am writing this letter to convey my thoughts and
appreciation concerning the Fraud Discovery Institute’s involvement in assisting me and
hundreds of investors in the Pacific Wealth Management fraud case. Your help in bringing
this case to the attention of the FBI, SEC and other local authorities is greatly appreciated —
yet to date, has gone surprisingly unreported by the media. This letter is designed to simply
put your long-time cooperation on the record.

I want to note three specific incidents where your proactive investigative help proved
especially beneficial in the formalizing of law enforcement’s involvement in this case. First,
and relating to the FBI, your ability, with little notice to secure from the Santa Ana office of
the FBI, a “wire” which was then brought to the home of one of the Pacific Wealth
Management investor victims, and then immediately showed them how to operate the device
which then enabled an accurate recording of the warrants and representations made at that
certain investor meeting which took place in August of 2006 at the Marie Calendars in
Temecula. This is important because the alleged perpetrators of this fraud were careful not
to use offering memorandums or other in-writing documentation. Your assistance of
securing, for the record, their claims about huge investor returns was made possible through
this recording.

Secondly, other various documents you were able to provide the authorities relating to Mr.
James Duncan’s previous activities as partly recorded in an October, 2003 article in the Press

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Enterprise, but also include evidence of how Mr. Duncan, in the past, ostensibly
hypothecated offering memorandums from other now proven investor frauds and sold these
investment “deals” as if they were his offerings.

Thirdly, the work you continue to do with the current victims of this case in helping them
secure usable evidence for the authorities and talking them through various ways to recover
their losses has provided a huge moral boast for many of the victims. In fact, some of the
victims have actually been able to recover some of their losses based on your input. All this
and the Fraud Discovery Institute has received no fees whatsoever nor have you or FDI ever
asked for any.

On behalf of the hundreds of affected investors of the Pacific Wealth Management debacle,
I want to thank you for your help and encourage the continuing work of the Fraud Discovery
Institute. Having you on our side is one unknown variable no perpetrator could have planned
for.

Most respectfully,

ACKERMAN, COWLES & LINDSLEY

RICHARD D. ACKERMAN

